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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                           CRIMINAL ACTION

VERSUS                                             NO: 01-311

JAMES HAYES                                        SECTION: "J"



                             ORDER AND REASONS

     Before the Court is the objection of the United States that

Petitioner’s Title 28, United States Code, section 2255 motion

was not timely filed with respect to Count 2 of his conviction.

After reviewing the record, the memoranda of counsel, and the

relevant case law, the Court finds that Petitioner’s motion was

timely.
                                BACKGROUND

     On April 23, 2002, James Hayes (“Petitioner”) was convicted

by a jury of (1) conspiracy to distribute more than fifty grams

of crack cocaine and (2) distribution of more than five grams but

less than fifty grams of crack cocaine. (Rec. Doc. 49). Following

the jury’s conviction, Petitioner moved for a judgment of

acquittal, which was denied. (Rec. Doc. 52).          On July 31, 2002,
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Petitioner was sentenced to 360 months on each count to run

concurrently, and on August 1, 2002, Petitioner filed a notice of

appeal. (Rec. Docs. 64 and 65). Petitioner’s conviction and

sentence on Count 2 was affirmed on August 6, 2003, but the case

was remanded to this Court for re-sentencing as to Count 1. (Rec.

Doc. 77). On March 31, 2004, this Court re-sentenced Petitioner

as to Count 1. (Rec. Doc. 95). On April 5, 2004, Petitioner filed

a notice of appeal from this ruling (Rec. Doc. 96), which he

later moved to dismiss. (Rec. Doc. 105).

     On February 14, 2005, Petitioner filed a section 2255 motion

to vacate his sentence, claiming ineffective assistance of

counsel. (Rec. Doc. 107). The Court first denied (Rec. Doc. 114)

and then, upon reonsideration, ultimately granted the motion to

vacate, finding that Petitioner was not a career offender. (Rec.

Doc. 123). On February 15, 2006, the Court held a hearing to re-

sentence Petitioner in light of this finding. At the hearing the

Court indicated that it was re-sentencing Petitioner as to both

Count 1 and Count 2. Counsel for the United States objected that
Petitioner’s section 2255 motion was untimely as to Count 2, and

that the sentence as to Count 2 should not be affected. The Court

continued the re-sentencing and ordered counsel for both parties

to brief the issue.
                               DISCUSSION

     Pursuant to the Antiterrorism and Effective Death Penalty


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Act (AEDPA), Pub. L. No. 104-132, 110 Stat. 1214, section 2255

motions must be filed within a year from “the date on which the

judgment of conviction becomes final.” See 28 U.S.C. § 2255 ¶

6(1).

     Petitioner argues that his judgment became final as to both

counts, for purposes of the AEDPA’s one-year limitations period,

following the period to appeal the Court’s amended sentence

entered on April 7, 2004. Therefore, Petitioner argues, his

February 14, 2005 motion was timely as to both counts. Petitioner

relies on several Courts of Appeals’ decisions finding that

multiple count convictions all become final on the same date in

one judgment, even where less than all of the convictions are

remanded for amendment or resentencing.1

        The United States argues that the judgment became final as

to Count 2 after the ninety day period passed to seek appeal of

the Fifth Circuit’s August 6, 2003 affirmation of Count 2's

sentence. The fact that the sentence for Count 1 was not yet

final is irrelevant to Count 2's limitations period according to

the United States. Based on this view, the United States argues

that the Petitioner had until November 6, 2004 to file a section

2255 motion as to Count 2, and Petitioner’s February 14, 2005


        1
       See United States v. Dodson, 291 F.3d 268 (4th Cir. 2002);
United States v. Colvin, 204 F.3d 1221 (9th Cir. 2000); United
States v. LaFromboise, 427 F.3d 680 (9th Cir. 2005); Majaraj v.
Secretary for the Dept. of Corrections, 304 F.3d 1345 (11th Cir.
2002); United States v. Camacho, 370 F.3d 303 (2d Cir. 2004).

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petition was untimely. The United States cites United States v.

Wilson, 256 F.3d 217 (4th Cir. 2001), in support of this

argument.

     Petitioner correctly replies that in United States v.

Dodson, 291 F.3d 268 (4th Cir. 2002), the Fourth Circuit

clarifies the limited nature of Wilson’s holding. Wilson held

that a remand for ministerial purposes does not toll the period

for filing a habeas petition, because the defendant would have no

legitimate grounds for direct appeal of the district court’s

disposition according to the court of appeals’ mandate. The

remand for re-sentencing as to Count 1, at issue in this case,

was not a ministerial remand, so Wilson’s reasoning is not

persuasive.

     Counsel have not cited nor has the Court found a Fifth

Circuit opinion directly on point. However, the Court finds

persuasive the reasoning of the other circuits that have squarely

considered the matter, as well as the reasoning behind the

longstanding “final judgment rule” applicable to direct appeals.
Treating each count in a multi-count indictment as amenable to a

separate final judgment would subject the courts to duplicative

serial habeas petitions by giving “prisoners strong incentive to

bring parallel proceedings, wasting judicial resources and

generating needlessly complex issues for litigation.” Dodson, 291

F.3d at 274. As with direct appeals, the judgment for habeas


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purposes “should be final not only as to all parties, but as to

the whole subject matter and as to all causes of action

involved.” Collins v. Miller, 252 U.S. 364, 370 (1920). In

Petitioner’s case, the judgment was not final for either Count 1

or Count 2 until April 7, 2004, following his resentence on

remand. Therefore, his February 14, 2005 section 2255 motion was

timely as to both Count 1 and Count 2.
     Accordingly,

     IT IS ORDERED that the United States’ objections to the

resentencing of Petitioner, James Hayes, as to Count 2 are

OVERRULED.

     New Orleans, Louisiana this the 13thday of March, 2006.



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                                        CARL J. BARBIER
                                        UNITED STATES DISTRICT JUDGE




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